




NO. 07-08-0232-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 30, 2008





In re: JOHANSON LEE WATSON, 



Relator

______________________________________
 

Original Proceeding

_____________________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Pending before this court is the petition of Johanson Lee Watson for a writ of mandamus. &nbsp;He requests that we “direct the trial court to comply with its own order.” &nbsp;The order in question was entered in March of 2007 and required DNA testing on evidence involved in his criminal trial. &nbsp;
We deny the petition.

According to relator's petition, he moved for DNA testing and appointed counsel
. &nbsp;The trial court subsequently granted both requests. &nbsp;However, relator, acting 
pro se
 despite having legal counsel, maintains that the trial court failed to comply with its directive and seeks a writ telling the “trial court to comply with its own order” and apparently cause the DNA testing to occur.

In civil cases, a party is entitled to represent himself or to be represented by an attorney, but he is not entitled to representation partly by counsel and partly 
pro se
. 
 &nbsp;Tex. R. Civ. P
. 7; 
In re Sondley
, 990 S.W.2d 361, 362 (Tex. App.–Amarillo 1999, orig. proceeding). &nbsp;Moreover, we have no obligation to accept or consider pleadings filed 
pro se 
by a party who is represented by counsel. &nbsp;
In re Sondley
, 990 S.W.2d at 362. &nbsp;So, because Watson has appointed counsel but no right to hybrid representation, we deny his petition for a writ of mandamus per our holding in 
Sondley
. 	



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice



 










